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Exhibit 1

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Asbestos Products Survey - Room by

11668 | CN | 10/9/89 Report Room Observations - Cardinal Heights |!00 Oak Street Speights &
Hampton, SC Runyan
School
Handwritten notes by A. Harthotd of :
41668 | CN | 11/12/04 Notes Pinchin Environmental re: Cardinal [100 Oak Street |Speights &
. Hampton, SC Runyan
Heights
Floor plans of Cardinal heights -
11668 | CN | Undated Drawing indicating locations of asbestos- ee Cak Steet spelahts &
containing materiais pron, uny
, Bulk Sample Analysis by Pinchin & .
41668 | CN | 10/12/89 Report Associates - Project 1439 - Lab Ref. # tee nak oo spelghts &
b0560 - 1989 ampton, unyan
Chart (attached to claim |School Facilities Inventory System: 100 Oak Street |Speights &
11668 CN Undated form) Facility Area and Age Data Hampton, SC Runyan

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